           Case 3:18-cr-00465-MMC Document 371 Filed 03/02/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


                                CRIMINAL TRIAL MINUTES

Date: March 2, 2022           Time: 5 hours 13 minutes        Judge: MAXINE M. CHESNEY


Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES
2                                          v. Fujian Jinhua Integrated Circuit, Co. Ltd.

Attorney for Plaintiff: Laura Vartain, Nicholas Walsh, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

 Deputy Clerk: Tracy Geiger                      Court Reporter: Ana Dub / Ruth Levine Ekhaus
 Mandarin Interpreter: Chen-Hao Hsu


                                       PROCEEDINGS


Bench Trial – Day Three.

Government witness(es): Continued direct examination of J.C. Cho; C.S. Chang;




CASE CONTINUED TO: March 3, 2022 at 9:00 a.m. for Continued Bench Trial




Admitted Trial Exhibits:

Government Exhibits: 1190, 1190T, 1191, 1191T,
               Case 3:18-cr-00465-MMC Document 371 Filed 03/02/22 Page 2 of 2

                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

Case No: 18-cr-00465-MMC-2
Case Name: USA v. Fujian Jinhua Integrated Circuit, Co. Ltd.

                             TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                              PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
Maxine M. Chesney                   Laura Vartain, Nicholas Walsh,          Jack DiCanio, Emily Reitmeier
                                    Nicholas Hunter, Stephen Marzen         Matt Sloan
TRIAL DATE:                         REPORTER(S):                            CLERK:
March 2, 2022                       Ana Dub and Ruth Levine Ekhaus          Tracy Geiger

PLF     DEF DATE/TIME
NO.     NO. OFFERED             ID      REC     DESCRIPTION                                           BY
            9:00 AM                             Court reconvened.
                                                Government witness: J.C. CHO – continued direct       Govt
               10:06 AM                         Cross examination of J.C. Cho by DiCanio              Deft
               10:29 AM                         Witness excused.
               10:30 AM                         Court recess – 15 minutes
               10:50 AM                         Court reconvened
                                                Government counsel informed the Court that the
                                                Parties have disputes to exhibits to be used with
                                                The next witness.
               11:35 AM                         Government witness: C.S. CHANG
               12:08 PM                         Court questioned witness
               12:11 PM                         Court recess – 1 hour
               1:15 PM                          Court reconvened
                                                Continued direct examination of C.S. Chang            Govt
1191           3/2/2022         X       X
1191T          3/2/2022         X       X
1190           3/2/2022         X       X
1190T          3/2/2022         X       X
1168                            X
               2:48 PM                          Court recess – 15 minutes
               3:06 PM                          Court reconvened
                                                Continued direct examination of: C.S. Chang           Govt
               3:38 PM                          Government counsel requests that the Court break
                                                Early today to give them time to brief issues re:
                                                Government exhibit 1168.
               3:55 PM                          Court recess – return 3/3/2022 at 9:00 AM
                                                     1
